The Attorney General has received your request for an opinion wherein you ask, in effect, the following question: Can the County Free Fair Board members restrict the participation or exhibition of an individual based on age ? 2 O.S. 91 [2-91] (1971) states: "There may be organized in each county in the State of Oklahoma a county free fair association. The term "free fair" as used in this Act shall be construed to mean township and county fairs, livestock shows, and other agricultural shows where admission to the grounds and all exhibit buildings are free and where no charge is made for entering exhibits on which premiums are offered." The purpose of a county free fair is to promote agriculture, livestock and poultry raising, manufacturing, arts, trade in every industry of a county in which the fair is held. 2 O.S. 92 [2-92] (1971).  A Board of Directors will be chosen to run the County Free Fair Association 2 O.S. 93 [2-93] (1971); 2 O.S. 94 [2-94] (1971); 2 O.S. 95 [2-95] (1971).  The Board of Directors shall constitute the executive board of the County Free Fair Association and shall have the power and authority to make all rules and regulations for holding the township and county free fairs in accordance with the Act, and shall have the authority to expend the funds of the County Fair Association. 2 O.S. 96 [2-96] (1971).  However, the County Free Fair Association, in making rules and regulations must draw such rules and regulations so that they relate to a legitimate classification which is not unreasonably discriminatory. County Free Fair Associations may promulgate rules and regulations differentiating between classes of persons on the basis of age. Nevertheless, such classification must be reasonably related to the factors such as public health, safety and welfare which shall not be inconsistent with the purpose of a County Free Fair. It is, therefore, the opinion of the Attorney General that the fair board members may restrict participation and exhibition in a county free fair, based on age, as long as the rules and regulations relate to a legitimate classification which is not unreasonably discriminatory and reasonably relates to factors such as public health, safety and welfare which are not inconsistent for the purposes of a county free fair.  (STEPHEN F. SHANBOUR) (ksg)